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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK


    ROBERT HENDERSON,                    §
                                         §
                             Plaintiff,  §
                                         §
    VS.                                  § CIVIL ACTION NO. ____________
                                         §
    84 LUMBER CO., ACE HARDWARE          §
    CORP., AIR & LIQUID SYSTEMS          §
    CORPORATION, A/K/A Buffalo Pumps,    §
    Inc., AURORA PUMP COMPANY, BIRD, §
    INC., CBS CORPORATION, f/k/a         §
    Viacom, Inc., successor by merger to §
    CBS Corporation, f/k/a Westinghouse  §
    Electric Corp., CERTAINTEED          §
    CORPORATION, CLEAVER-BROOKS,         §
    INC. F/K/A CLEAVER BROOKS, A         §
    DIVISION OFAQUA-CHEM, INC.,          §
    CRANE CO., GENERAL ELECTRIC          §
    COMPANY, INGERSOLL-RAND              §
    COMPANY, UNION CARBIDE               §
    CORPORATION, WARREN PUMPS,           §
    LLC, WEIR VALVES & CONTROLS          §
    USA INC., F/K/A ATWOOD &             §
    MORRILL,                             §
                                         §
                           Defendants.   §
                                         §

          CBS CORPORATION AND GENERAL ELECTRIC COMPANY’S
                        NOTICE OF REMOVAL
TO THE HONORABLE JUDGE OF UNITED STATES DISTRICT COURT:

        Pursuant to Title 28 U.S.C. § 1442(a)(1) and 1446, Defendants CBS Corporation

(“Westinghouse”) 1 and General Electric Company (“GE”) (collectively, “Defendants”) give notice of

removal of an action filed against them in the Supreme Court of New York, New York County, to the



1
 CBS Corporation (a Delaware corporation f/k/a Viacom Inc.) is a successor by merger to CBS Corporation (a Pennsylvania
corporation f/k/a Westinghouse Electric Corporation).
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United States District Court for the Southern District of New York. In support, Defendants respectfully

offer the following:

                                          Preliminary Matters

       1.      On or about February 6, 2018, plaintiff filed this lawsuit, entitled Robert Henderson,

Index No. 190027/2018, against GE, Westinghouse and other defendants in the Supreme Court of New

York, New York County. See Summons and Complaint attached hereto as Exhibit A. GE and

Westinghouse were served on February 13 and February 12, 2018. The Complaint alleges that plaintiff

Robert Henderson was exposed to asbestos while serving as a machinist mate in the United States Navy,

specifically aboard the USS Barney (DDG-6), between 1973 and 1975. Id.

       2.      Thus, this Notice of Removal is timely filed in that it is filed within thirty (30) days after

service of the Summons and Complaint on Defendants from which they ascertained that this case is

removable. 28 U.S.C. § 1446(b).

                                          Nature Of The Case

       3.      The case is based on plaintiffs’ allegations that Mr. Henderson’s asbestos-related disease,

specifically lung cancer, was caused by his exposure to asbestos dust and/or fibers.

       4.      Plaintiffs assert failure to warn and negligence claims against GE and Westinghouse.

                                         Grounds For Removal

       5.      This Notice of Removal is filed within thirty (30) days of Defendants’ receipt of the

Summons and Complaint from which they could ascertain that the case was removable. 28 U.S.C.

§ 1446(b). GE and Westinghouse manufactured marine steam turbines and auxiliary equipment for use

on Navy ships pursuant to contracts and specifications executed by the Navy. Defendants have

confirmed that they manufactured turbines aboard the USS Barney (DDG-6). The basis for removal is

that they acted under the authority, direction and control of an officer or agency of the United States for




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purposes of 28 U.S.C. § 1442(a)(1), and can state a colorable federal law-based “government contractor”

defense to those claims.

        6.      Should plaintiff file a motion to remand this case, Defendants respectfully request an

opportunity to respond more fully in writing, but offer the following authorities at this time:

        7.      As recognized in a landmark decision by the United States District Court for the Eastern

District of Pennsylvania (MDL-875) in Hagen v. Benjamin Foster Co., 739 F.Supp.2d 770 (E.D. Pa.

2010), Westinghouse has a federal defense to this action. See Hagen. In examining virtually identical

evidence submitted in the case at bar, Judge Eduardo C. Robreno found that the defendant, Foster

Wheeler, raised a colorable defense to plaintiff’s failure to warn claims, i.e., government contractor

immunity from liability for injuries arising from any exposure to asbestos related to boilers and auxiliary

equipment aboard Navy vessels, insofar as they were designed and manufactured by Foster Wheeler

according to strict Navy specifications. Removal pursuant to 28 U.S.C. § 1442(a)(1) is appropriate

where the moving party can (1) demonstrate that it acted under the direction of a federal officer, (2) raise

a colorable federal defense to plaintiffs’ claims, and (3) demonstrate a causal nexus between plaintiff's

claims and acts it performed under color of federal office. Mesa v. California, 489 U.S. 121, 124-25,

129-31, 134-35 (1989).

        8.      In reaching his conclusion, Judge Robreno discussed in detail the three elements

necessary for removal under this statute. First, a defendant must demonstrate that it is a “person” within

the meaning of the statute. Hagen, at 776. The definition of a “person” includes a corporation. Id.

Second, defendants must raise a colorable claim to a federal law defense. Id. As previously stated, a

colorable claim to a federal defense can be predicated upon the federal government contractor defense.

Id. Third, the defendant must establish that the suit is for any act under color of federal office, i.e., there

is a causal connection between the charged conduct and asserted official authority. Id. Causation exists




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if the predicate acts of the state court suit were undertaken while the person was acting as or under a

federal officer, and the acts were under color of the relevant federal office. Id.

       9.      The second and third elements require a substantial degree of direct and detailed federal

control over defendant’s work and a causal nexus between the defendant’s actions under the federal

officer and plaintiff’s state court claims. Hagen, at 776. Although set forth in the statute as two separate

requirements, Judge Robreno recognized that the evidentiary similarities between the “acting under” and

“causal nexus” prongs have often prompted courts to collapse them into one single requirement. Id. at

784 [citing Good v. Armstrong World Indus., Inc. 914 F.Supp. 1125, 1128 (E.D. Pa 1996) (“The ‘acting

under’ language in the statute forces [the defendant] to show a causal nexus between the plaintiff’s claims

and the conduct taken pursuant to direction from a federal officer.”)].

       10.     What constitutes sufficient federal control is often central to a court’s decision to uphold

removal or remand a case. Like the Hagen court, federal courts across the country, including the Second

Circuit, have upheld removal because defendants were sued as a result of designing and manufacturing

products pursuant to detailed and strict military specifications. See Donohue v. CBS Corp., 2017 WL

5713222 (S.D.N.Y. Nov. 27, 2017) (removing defendant entitled to remove based on affidavits

indicating Navy control, supervision and direction over what was labeled on equipment); Cuomo v.

Crane Co., 771 F.3d 113 (2d Cir. 2014) (Crane Co. provided sufficient evidence that easily cleared the

low threshold for asserting a federal contractor defense); Sawyer v. Foster Wheeler LLC, 860 F.3d 249

(4th Cir. 2017) (reversing lower court’s grant of remand and finding Foster Wheeler satisfied federal

officer removal statutory requirements); Zeringue v. Crane Co., 846 F.3d 785, 789-90 (5th Cir. 2017)

(section §1442(a)(1) is a “pure jurisdictional statute” that permits a federal defense “to serve as the

federal question that endues the court with jurisdiction”); Leite v. Crane Co., 749 F.3d 1117 (9th Cir.

2014) (plaintiff’s failure to warn claims and defendant’s government contractor defense is one for the




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federal and not state court to decide); Ruppel v. CBS Corporation, 701 F.3d 1176 (7th Cir. 2012)

(reversing lower court decision to remand and finding removal proper where Westinghouse established

through affidavits that it had a colorable government contractor defense to plaintiff’s claims).

         11.      As detailed in Hagen, critical to the defendant’s evidence is whether defendant has

demonstrated sufficient facts establishing that its government contractor defense is “colorable” 2 or

“plausible”. See Hagen. In the context of a “failure to warn” case, the defendant need not show that

the Navy expressly barred or broadly preempted the inclusion of asbestos warnings on its

products. Id. at p.19. See also Kerstetter v. Pacific Scientific Co., 210 F.3d 431, 438 (5th Cir.) cert.

denied 531 U.S. 919 (2000)(government contractor defense is available in "failure to warn" claims where

the evidence shows that the lack of a warning reflects governmental direction or control rather than the

unfettered discretion of the product's manufacturer, and applies wherever: 1) the government approved

or authorized the warnings which the plaintiff contends were inadequate or incomplete; 2) the warnings

provided by the manufacturer conformed to the warnings as approved or authorized by the government;

and 3) the manufacturer warned the government as to any product hazards known by the manufacturer

but unknown by the government. Kerstetter, 210 F.3d at 438).

         12.      As stressed in Kerstetter, "[t]he government need not prepare the specifications to be

considered to have approved them." Id. at 435. The only material issue is whether the manufacturer's

designs and specifications were subjected to "substantial review" rather than a mere "rubber stamp"

approval. Id. While this determination is necessarily fact specific, "substantial review" has plainly been

shown upon evidence of a "`continuous back and forth' between the contractor and the government." Id.




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  The Hagen court distinguished the showing of a “colorable” defense required for removal from the ultimate evidentiary
showing at trial, and ruled that the colorable defense standard for purposes of removal “is not an onerous one to satisfy.”
Hagen, at 780. Thus, “a defense is colorable for purposes of determining jurisdiction under Section 1442 (a)(1) if the
defendant asserting it identifies facts which, viewed in the light most favorable to the defendant, would establish a complete
defense at trial.” Id. at 783.




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In this regard, "[t]he specifications need not address the specific defect alleged; the government need

only evaluate the design feature in question." Id. Once again, applying these general principles to "failure

to warn" claims, the fact that governmental specifications or regulations did not specifically preclude the

exact warning desired by the plaintiff does not take a "failure to warn" claim outside the scope of the

government contractor defense so long as the government was involved generally as to the issue of

product warnings (or specifically approved the warnings provided by the contractor) and was generally

aware of the hazard in question. Id. at 438. Stated another way, "[i]nadequacy [of a warning] is not an

issue when it is the government's warning in the first place." Id. at 438.

       13.     As explained by Hobson:

       [T]he Navy exercised extensive control over communications between GE and Navy
       personnel.
       The U.S. Navy had precise specifications, practices and procedures that governed the
       content of any communication affixed to machinery supplied by GE to the Navy. GE
       was not permitted, under the specifications, associated regulations and procedures, and
       the actual practice as it existed in the field, to affix any type of warning that addressed
       alleged hazards of products not supplied by GE, such as thermal insulation materials that
       were procured by the Navy’s shipbuilder from an insulation vendor pursuant to Navy
       specifications.
       The Navy required that each Navy turbine be accompanied by a defined number of copies
       of technical manuals related to that specific turbine. Navy personnel participated
       intimately in the preparation of this kind of information and exercised specific direction
       and control over its contents. These manuals included safety information related to the
       operation of naval turbines only to the extent directed by the Navy.
       [T]he Navy, not GE, determined the nature of warnings communicated to naval personnel
       in relation to shipboard equipment and materials.
       See Declaration of David Hobson, attached hereto as Exhibit B, at ¶¶ 20-22. Thus, the presence

or absence of warnings regarding GE equipment was strictly controlled by the Navy - and a clear basis

for removal exists under § 1442(a)(1).

       14.     The Navy exercised rigid control over the design, manufacture and installation of

essential equipment and materials, including written communication, and imposed requirements for




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warnings and documentation necessary for the maintenance of this equipment to ensure that personnel

received only one clear set of instructions approved by the chain of command. The Navy did not permit

any equipment manufacturer to interfere with the mission success by supplying turbines that did not

expressly comply with Navy specifications or by placing warnings on equipment or in instruction

manuals without Navy approval. See Affidavit of Roger B. Horne, attached hereto as Exhibit C, at ¶¶33,

37.

        15.     In designing, manufacturing and supplying the turbines at issue in this case to the United

States Navy, Westinghouse acted under the detailed and ongoing direction and control of one or more

federal officers. More specifically, Westinghouse manufactured and designed such equipment in

accordance with precise, detailed, specifications promulgated by Navy Sea Systems Command.

Moreover, an Inspector of Naval Machinery (“INM”), who was resident at Westinghouse’s

manufacturing facility, personally oversaw the manufacturing process and enforced compliance with the

Navy’s design specifications. Further, the Westinghouse Navy equipment in question was subject to

various tests and trials supervised by the United States Navy before it was approved for use on military

vessels. In sum, all relevant aspects of the design and manufacture of the turbines and/or related

equipment were subject to close, detailed and ongoing supervision and control by the United States Navy

and its officers.

        16.     There was no information concerning any asbestos hazard or danger posed by any

asbestos-containing product applied to any machinery on a Navy ship known by Defendants that was

not known to the United States and the Navy. See Affidavit of Lawrence Stilwell Betts, MD, PhD, CIH,

FACOEM, dated February 9, 2005, attached hereto as Exhibit D at ¶ 31. (“Betts Affidavit”) and Affidavit

of Samuel A. Forman, M.D., attached hereto as Exhibit E.




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          17.    Nowhere is it required that Defendants produce physical contracts to prove the Navy’s

extensive direction and control over product specifications to satisfy the requirements of § 1442(a)(1).

          18.    A properly removed case cannot be remanded for discretionary or policy reasons such as

allegedly related state court cases or a contention that judicial economy compels remand. 28 U.S.C.

§ 1447(c); Thermitron Products, Inc. v. Hermansdorfer, 423 U.S. 336 (1976). The federal officer

removal statute is not narrow or limited, and it should not be frustrated by a narrow or grudging

interpretation of § 1442(a)(1). Willingham v. Morgan, 395 U.S. 402, 405 (1960).

          19.    Defendants are not required to notify and obtain the consent of any other defendant in

this action in order to remove plaintiff’s action as a whole under § 1442(a)(1). See Torres v. CBS News,

854 F.Supp. 245 (S.D.N.Y. 1994)

          20.    As required by 28 U.S.C. § 1446(b) and the local rules of this Court, true and correct

copies of the process and pleadings served upon defendant are being filed with this Notice of Removal.

                                               Conclusion

          21.    Removal of this action is proper under 28 U.S.C. § 1442, because it is a civil action

brought in a state court, and the federal district courts have original jurisdiction over the subject matter

under 28 U.S.C. § 1442(a)(1) because Defendants were acting under an officer or agency of the United

States.

          WHEREFORE, CBS Corporation and General Electric Company, pursuant to these statutes and

in conformance with the requirements set forth in 28 U.S.C. § 1446, remove this action for trial from the

Supreme Court of New York, New York County, on this 13th day of March, 2018.

                                              Respectfully submitted,

                                              TANENBAUM KEALE LLP

                                              /S/ Dennis E. Vega
                                              Dennis E. Vega




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